Case 4:18-cr-00098-ALM-CAN Document 11 Filed 06/13/18 Page 1 of 5 PageID #: 23




                         IN THE UNITED STATES DISTRICT COURT
                          FO THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

   UNITED STATES OF AMERICA §
                                                         §         SEALED
   v.                                   §
                                                         §         NO. 4:1 SCR
                                                                   iudge




                                                                                      M ,.4 a!i A hi ,

                                                                                   m 1 3 2018
                                                                               Clerk, U.S. I )istrict Court
                                                                                     le as astern




                                         INDICTMENT


            THE UNITED STATES GRAND JURY CHARGES:

                                            Count O e

                                                     Violation: 21 U.S.C. § 963 (Conspiracy
                                                     to Manufacture and Distribute Cocaine
                                                     Intending, Knowing and with Reasonable
                                                     Cause to Believe that the Cocaine will be
                                                     Unlawfully Imported into the United
                                                     States)

            That sometime in or about 2017, and continuously thereafter up to and including the

   date of this Indictment, in the Republics of Colombia, Ecuador, Panama, Costa Rica,

   Guatemala, Mexico, and elsewhe e,



   Indictment
   Page 1
Case 4:18-cr-00098-ALM-CAN Document 11 Filed 06/13/18 Page 2 of 5 PageID #: 24




                      | defendants, did knowingly and intentionally combine, conspire, and

   agree with other persons known and unknown to the United States Grand Jury, to

   knowingly and intentionally manufacture and dist ibute five kilograms or more of a

   mixture and substance containing a detectable amount of cocaine, a schedule II controlled

   substance, intending, knowing, and having reasonable cause to believe that such substance

   would be unlawfully imported into the United States, in violation of 21 U.S.C. §§ 959(a)

   and 960.

            In violation of 21 U.S.C. § 963.

                                               Co n Two

                                                      Violation: 21 U.S.C. § 959 and 18 U.S.C.
                                                      § 2: (Manufacturing and Distributing
                                                      Five Kilograms or More of Cocaine
                                                      Intending, Knowing and with
                                                      Reasonable Cause to Believe that the
                                                      Cocaine will be Unlawfully Imported
                                                      into the United States)

            That sometime in or about 2017, and continuously thereafter up to and including the

   date of this Indictment, in the Republics of Colombia, Ecuador, Panama, Costa Rica,

   Guatemala, Mexico, and elsewhere,




   Indictment
   Page 2
Case 4:18-cr-00098-ALM-CAN Document 11 Filed 06/13/18 Page 3 of 5 PageID #: 25




           Jlion E uis Viafara Mina a.k.a. Futbolista/Goleador/Makelele,




    intentionally inanulacture and distribute live kilograms or more of a mixture and substance

    containing a detectable amount of cocaine, a Schedule II controlled substance, intending,

    knowing, and with reasonable cause to believe that such cocaine would be unlawfully

    imported into the United States.

           In violation of 21 U.S.C. § 959 and 18 U.S.C. § 2.

                NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

           From their engagement in the violation alleged in this Indictment, the defendants

   shall lorleil to the United States, pursuant to 21 U.S.C. § 970, incorporating the provisions

   of 21 U.S.C. § 853(a)(1) and (2), all of their interest in:

                  a. Property constituting and derived from any proceeds the defendants
                         obtained, directly or indirectly, as the result of such violation; and
                  b. Property used and intended to be used in any manner or part to commit
                         or to facilitate the commission of such violation.

          If any of the property described above as being subject to forfeiture, as a result of

   any act or omission of the defendants:

                  a. cannot be located upon the exercise of due diligence;
                  b. has been transferred or sold to, or deposited with, a third person;
                  c. has been placed beyond the jurisdiction of the court;
                  d. has been substantially diminished in value; or
                  e. has been commingled with other property which cannot be divided
                        without difficulty.




   Indictment
   Page 3
Case 4:18-cr-00098-ALM-CAN Document 11 Filed 06/13/18 Page 4 of 5 PageID #: 26




             The United States of America shall be entitled to forfeiture of substitute property

   under the provisions of 21 U.S.C. § 853(p), and as incorporated by 28 U.S.C. § 2461(c).



                                                      A TRUE BILL




                                                      GRAND JURY FOREPERSON

   JOSEPH D. BROWN
   UNITED STATES ATTOR EY




   JAY R. COMBS Date
   Assistant United States Attorney




    In ictment
    Page 4
Case 4:18-cr-00098-ALM-CAN Document 11 Filed 06/13/18 Page 5 of 5 PageID #: 27




                           IN T E UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

   UNITED STATES OF A ERICA §
                                                      §         SEALED
   v.                                §
                                                                NO. 4:1 SCR
                                                                Judge




   JHON ED UTS VIAFARA MINA (3) §




                                   NOTICE OF PENALTIES

                                         Count O e

   Violation: 21 U.S.C. § 963

   Penalty: Imprisonment for not less than ten (10) years or more than life, a fine not to
                exceed $10,000,000.00 or both. A term of supervised release of at least five
                (5) years.

   Special Assessment: $ 100.00

                                         Count Two

   Violation: 21 U.S.C. § 959 and 18 U.S.C. § 2

   Penalty: Imprisonment for not less than ten (10) years or more than life, a fine not to
               exceed $10,000,000.00 or both. A term of supervised release of at least five
                (5) years.

    Special Assessment: $100.00

    Indictment/Notice of Pe alty
    Page 5
